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May 31, 2023

VIA ECF

The Honorable Judge Eric N. Vitaliano
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


        RE:     Fitzpatrick v. Boston Market Corporation,
                Civil Action No. 1:21-cv-05868-ENV-VMS

Dear Judge Vitaliano,

        We represent Plaintiff in the above-referenced matter. We write, on behalf of Plaintiff and
Defendant, to respectfully request a short adjournment of the time for the parties’ Joint Proposed
Pretrial Order to be filed, from May 31, 2023 to June 16, 2023. While the Parties have been
working together to finalize the proposed order, we require additional time to finalize some items
in the proposed order for it to be ready for filing. This is the parties’ first request for an adjournment
of the date for this filing and all parties consent to the request.

        We apologize for our delay in getting the Court this report and thank Your Honor for your
attention to this matter.

                                                      Respectfully submitted,

                                                      JOSEPH & KIRSCHENBAUM LLP

                                                         s/ Josef Nussbaum
                                                      Josef Nussbaum
                                                      32 Broadway, Suite 601
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cc: All Counsel of Record (via ECF)
